
10 A.3d 467 (2010)
In the Matter of Lisa M. BUTTI.
No. 2010-407-M.P.
Supreme Court of Rhode Island.
November 30, 2010.
David D. Curtin, Esq., Disciplinary Counsel.
Lisa M. Butti.

ORDER
On November 8, 2010, pursuant to Article III, Rule 13 of the Supreme Court Rules of Disciplinary Procedure, the respondent filed an affidavit with this Court's disciplinary board setting forth that she is aware she is the subject of an investigation of professional misconduct. The respondent's affidavit sets forth that she freely and voluntarily consents to disbarment *468 and that she is fully aware of the implications of submitting her consent. On November 15, 2010, Disciplinary Counsel filed the respondent's affidavit with the Court.
Upon review of the respondent's affidavit, we deem that an order disbarring the respondent is appropriate.
Accordingly, pursuant to Article III, Rule 13, it is hereby ordered, adjudged and decreed, that the respondent, Lisa M. Butti, be and she is hereby disbarred on consent from engaging in the practice of law.
